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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

ANTONIO BENTON,                        )
MOULTRIE BENHAM, ARTHUR                )
HOOTEN, COREY COLLINS,                 ) CIVIL ACTION FILE NO.
and DERONTA FRANKLIN,                  ) 1:15-cv-01257-WSD
individually and on behalf of all      )
others similarly situated              )
                                       )
        Plaintiffs,                    )
                                       )
v.                                     )
                                       )
A-TOW, INC. and SUSAN PAGE             )
PORTER,                                )
                                       )
        Defendants.                    )

                      JOINT APPLICATION FOR APPROVAL
                       OF PARTIES’ JOINT STIPULATION
                        OF SETTLEMENT AND RELEASE

        Named Plaintiffs Antonio Benton, Moultrie Benham, Arthur Hooten, Corey

Collins, and Deronta Franklin, as well putative Plaintiffs for whom Plaintiffs’

counsel has filed a Notice of Consent to Join a Collective Action, namely Samuel

L. Wright Tommy Allen, Jr., Llewellyn Edinborough, Patrick Russell, and

Alexander Coates (collectively “Plaintiffs”), and Defendants A-Tow, Inc. and

Susan Page Porter (collectively “Defendants”), by and through their respective

counsel of record, submit this Joint Application for Approval Parties’ Joint




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Stipulation of Settlement and Release.          In support of this Joint Application,

Plaintiffs and Defendants (collectively the “Parties”) state as follows:

        1.       This case was originally filed on April 20, 2015. [Dkt. No. 1].

        2.       This is an action for damages against Defendants based on Plaintiffs’

claim that Defendants violated the overtime provisions of the Fair Labor Standards

Act, 29 U.S.C. § 201 et seq.

        3.       The Parties agree that the instant action involves disputed issues

regarding the payment of overtime wages under the FLSA.

        4.       Plaintiffs allege that Defendants failed to comply with the overtime

provisions of the FLSA, and Defendants allege that Plaintiffs were properly

compensated for all hours work for the primary benefit of A-Tow.

        5.       To avoid expending time and expenses in litigation, the Parties to this

action have engaged in meaningful, good faith settlement negotiations.

        6.       To reach a full and fair compromise of disputed issues, the Parties

conducted limited discovery, including the exchange of time records and payroll

records for each Plaintiff.

        7.       During the negotiations period, the Parties sought and obtained a stay

of litigation on June 22, 2015 [Dkt. 11] up to and through July 30, 2015.

        8.       The Parties subsequently sought and obtained an extension of the

Court’s stay of litigation up to and through August 15, 2015. [Dkt. 15].


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        9.       On or about August 14, 2015, the Parties notified the Court that they

had reached a settlement of the claims asserted by Plaintiffs in their Complaint.

[Dkt. 16].

        10.      The Parties have agreed to settle this lawsuit according to the terms of

the Joint Stipulation of Settlement and Release submitted, as Exhibit A, with this

motion.

        11.      Pursuant to the case law regarding settlement of FLSA claims, there

are two ways in which claims under the FLSA can be settled and released by

employees. First, section 216(c) of the FLSA allows employees to settle and waive

their claims under the FLSA if the payment of unpaid wages by the employer to

the employee is supervised by the Secretary of Labor. See 29 U.S.C. 216(c) of the

FLSA; Lynn’s Food stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir.

1982). Second, in the context of a private lawsuit brought by an employee against

an employer under section 216(b) of the FLSA, an employee may settle and release

FLSA claims against an employer if the parties present the district court with a

proposed settlement and the District Court enters a stipulated judgment approving

the fairness of the settlement. Id.; see also Sculte, Inc. v. Gandi, 328 U.S. 108, 66

S. Ct. 925, 928 n. 8, 90 L.Ed. 1114 (1946); Jarrad v. Southeastern Shipbuilding

Corp., 163 F.2d 960,961 (5th Cir. 1947).




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        12.      In detailing the circumstances justifying court approval of an FLSA

settlement in a litigation context, the Eleventh Circuit has stated as follows:

                 Settlements may be permissible in the context of a suit brought
                 by employees under the FLSA for back wages because
                 initiation of the action by the employees provides some
                 assurance of an adversarial context. The employees are likely to
                 be represented by an attorney who can protect their rights under
                 the statute. Thus, when the parties submit a settlement to the
                 court for approval, the settlement is more likely to reflect a
                 reasonable compromise of disputed issues than a mere waiver
                 of statutory rights brought by an employer’s overreaching. If a
                 settlement in an employee FLSA suit does reflect a reasonable
                 compromise over issues, such as FLSA coverage or
                 computation of back wages that are actually in dispute, we
                 allow the District Court to approve the settlement in order to
                 promote the policy of encouraging settlement of litigation.
                 Lynn’s Food Stores, 679 F.2d at 1354.

        13.      The Parties agree that the proposed settlement is the product of

serious, informed, non-collusive negotiations and compromise, has no obvious

deficiencies, and does not improperly grant any preferential treatment to any

individual plaintiff.

        14.      The Parties further agree that the proposed settlement is fair and

reasonable to each Plaintiff and the settlement furthers implementation of FLSA in

the workplace.

         15.     The amount of attorneys’ fees and costs set forth in the Agreement

represents legal work that was necessary to the prosecution of this case at

reasonable rates for employment law attorneys in Atlanta. The amounts to be paid


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to Plaintiffs’ counsel includes a contractually set payment of 25% of the non-wage-

income portions paid to Plaintiffs in consideration of counsel’s agreement to

advance reasonable costs and based on the differing standards for the award of

non-wage income damages under the FLSA.

        16.      All parties were counseled and represented by their respective attorneys

throughout the litigation and settlement process. And the Parties, through their

attorneys, voluntarily agreed to the terms of the settlement during negotiations.

        17.      The Parties further agree that the proposed Joint Stipulation of

Settlement and Release reflects a compromise of all disputed issues and claims; and

accordingly, warrants dismissal of the pending action, with prejudice.

                                     CONCLUSION

        Wherefore, the Parties jointly and respectfully request that this Court

approve the settlement agreement of the Parties, incorporate the Settlement into its

Order and dismiss the instant action with prejudice. The Parties further request that

the Court retain jurisdiction over this action to enforce the terms of the settlement.


                 CERTIFICATE OF COMPLIANCE WITH L.R. 5.1C

        WE HEREBY CERTIFY that the foregoing document was prepared in

Times New Roman, 14-point font, as approved by Local Rule 5.1C.




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          Respectfully submitted on this 15th day of October, 2015.

/s/ Kevin D.Fitzpatrick                      /s/ David Long-Daniels
(by David Long-Daniels with express
permission)                                  David Long-Daniels
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